 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 1 of 30 PageID: 1




                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
__________________________________________
                                           :
WAREHOUSE SOLUTIONS INC.                   :   COMPLAINT AND
d/b/a INTELLIGENT AUDIT.,                  :   JURY DEMAND
                                           :
             Plaintiff,                    :   Civ. Action No.
v.                                         :
                                           :
CHRISTOPHER COLOMB and                     :
ENVISTA, LLC.                              :
                                           :
       Defendants                          :
__________________________________________:

       Plaintiff Warehouse Solutions Inc. d/b/a Intelligent Audit (“Intelligent Audit” or the

“Company”) by and through its attorneys Pashman Stein Walder Hayden, P.C. hereby files this

complaint against Defendants Christopher Colomb (“Colomb”) and enVista LLC (“enVista”) and

alleges as follows:

                                         THE PARTIES

       1.      Intelligent Audit is a New Jersey corporation with a principal place of business

located at 365 West Passaic Street, Suite 455, Rochelle Park, New Jersey 07662.

       2.      Colomb is an individual and a resident of the State of Tennessee.

       3.      enVista is an Indiana limited liability company with a principal place of business

located at 11555 North Meridian Street, Suite 300, Carmel, Indiana 46032.

                                JURISDICTION AND VENUE

       4.      For diversity jurisdiction purposes, Intelligent Audit is a citizen of New Jersey.

       5.      For diversity jurisdiction purposes, Colomb is a citizen of Tennessee.




                                                 1
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 2 of 30 PageID: 2




       6.      According to enVista’s filings with the State of Indiana, Office of Secretary of State

its members are citizens of California, Georgia, Illinois, Indiana, Maryland, Texas, Washington,

and West Virginia.

       7.      For diversity jurisdiction purposes, enVista is a citizen of California, Georgia,

Illinois, Indiana, Maryland, Texas, Washington, and West Virginia.

       8.      There is complete diversity among the parties.

       9.      The amount in controversy exceeds $75,000, exclusive of interest and costs.

       10.     Venue is proper in this judicial district pursuant to 29 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claim occurred in this district

       11.     Intelligent Audit and Colomb also entered into an agreement selecting the state and

federal courts of the State of New Jersey as the venue for litigation concerning their agreement.

                                    STATEMENT OF FACTS

I.     Background on Intelligent Audit and its Business

       12.     Intelligent Audit is a supply chain technology services company.

       13.     Intelligent Audit has developed certain proprietary information including, but not

limited to, a best-in-class freight audit and recovery software solution that helps customers reduce

transportation costs.

       14.     This proprietary information gives Intelligent Audit a competitive advantage over

its competitors who do not have access to this information.

       15.     Intelligent Audit has invested substantial time and expense to market its services to

prospective and existing customers and to develop goodwill in the transportation industry.




                                                  2
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 3 of 30 PageID: 3




II.    Colomb’s Employment with Intelligent Audit

       16.    On September 23, 2020, Intelligent Audit offered Colomb a position as Director,

Global Implementations.

       17.    In that position, he was responsible for onboarding Intelligent Audit’s new

customers, driving the implementation process, interfacing with the Company’s internal

development and account management teams, and coordinating the work of the Company’s

various audit teams.

       18.    In connection with his position as Director of Global Implementations, Intelligent

Audit gave Colomb access to confidential business information including, but not limited to, the

Company’s infrastructure and processes, customer lists, marketing plans, information about

prospective customers, service agreements, scope of work documents, pricing information, contact

information for the Company’s customers and business partners.

       19.    Colomb was also privy to confidential information about the Company’s strategic

plans, including planned enhancements to the Company’s products and services.

       20.    Colomb also had access to the Company’s SQL database.

       21.    Since Intelligent Audit would be disclosing this confidential business information

to Colomb, the Company required him to enter into an agreement to protect that information from

unauthorized disclosure.

III.   The Agreement Between Intelligent Audit and Colomb

       22.    On September 24, 2020, Colomb and Intelligent Audit entered into an Employment,

Proprietary Rights, Non-Disclosure, Developments, Non-Competition and Non-Solicitation

Agreement (the “Agreement”). A true and correct copy of the Agreement is attached as Exhibit

A.



                                               3
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 4 of 30 PageID: 4




       23.     Colomb signed the Agreement and sent a copy of his signature on the Agreement

to via email Intelligent Audit in New Jersey.

       24.     In the Agreement, Colomb agreed that he would not disclose or use any of the

Company’s Proprietary Information during or after his employment with Intelligent Audit, with

limited exceptions (the “Non-Disclosure Provision”).

       25.     The Agreement also contains a provision barring Colomb from working for a

company that is competitive with the Intelligent Audit’s business in the geographic area where the

Company does business during the 12-month period following his termination (the “Non-Compete

Provision”).

       26.     Colomb also agreed that he would not solicit Intelligent Audit’s customers or

interfere with the Company’s business relationship with customers, accounts, and business

partners during 12-month period employment following the termination of his employment (the

“Non-Solicitation Provision”).

       27.     The Agreement contains a choice of law provision stating that the Agreement shall

be governed by New Jersey law.

       28.     The Agreement contains a forum selection clause stating that any action suit or

legal proceeding concerning the Agreement “shall be commenced only in a court of the State of

New Jersey or if, appropriate, a federal court located within New Jersey.”

IV.    Colomb Breached His Agreement with Intelligent Audit

       29.     On March 17, 2021, Colomb resigned his employment with Intelligent Audit.

       30.     Colomb advised Intelligent Audit that he accepted a position at enVista.

       31.     enVista markets and sells services that are competitive with the services that

Intelligent Audit develops, designs, licenses, markets, and sells.



                                                 4
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 5 of 30 PageID: 5




       32.      In particular, enVista offers a freight audit solution, myShipINFO®, that is

competitive with Intelligent Audit’s freight audit and recovery software solution.

       33.      enVista markets myShipINFO® “global freight audit and payment solution” that

gives customers “the power to view [their] entire transportation and freight spend in one,

centralized interface.”

       34.      Upon information and belief, enVista hired Colomb to serve as the Product

Manager for myShipINFO®.

       35.      On March 30, 2021, the undersigned sent a letter (the “Letter”) to Colomb

concerning his post-employment obligations to Intelligent Audit. A copy of the letter is attached

as Exhibit B.

       36.      The Letter informed Colomb that Intelligent Audit would file litigation against him

if he began working at enVista in violation of the Non-Compete Provision in the Agreement.

       37.      Colomb did not respond to the Letter.

       38.      Upon information and belief, Colomb’s start date at enVista is April 12, 2021.

                                       COUNT ONE
                                  BREACH OF CONTRACT
                                   (Against Chris Colomb)

       39.      Colomb entered into an agreement with Intelligent Audit (i.e., the Agreement).

       40.      Intelligent Audit fully performed its obligations to Colomb under the Agreement.

       41.      The Agreement is necessary to protect legitimate interests of the Company

including, the non-disclosure of confidential information and the preservation of Intelligent

Audit’s goodwill with its customers.

       42.      Intelligent Audit and enVista both compete for customers in the transportation

industry who are seeking a freight audit solution.



                                                 5
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 6 of 30 PageID: 6




        43.     Colomb breached the Agreement by working for enVista during the 12-month Non-

Compete Period.

        44.     Intelligent Audit has suffered damages as a result of Colomb’s breach of the

Agreement in an amount that is presently unknown and will be determined at trial, but is in excess

of $75,000.

        45.     Intelligent Audit’s claim against Colomb arises out of his contacts with Intelligent

Audit in New Jersey, his communications with Intelligent Audit concerning his prospective

employment, his agreement with Intelligent Audit, and his employment with Intelligent Audit.

        WHEREFORE, Plaintiff Warehouse Solutions Inc. (d/b/a Intelligent Audit) respectfully

requests this Court to enter a judgment against the Defendant Christopher Colomb providing the

following relief:

        a)      A permanent injunction enforcing the terms of the Agreement;

        b)      Compensatory and consequential damages in an amount to be determined at trial;

        c)      An award of costs that Plaintiff has incurred in this action; and

        d)      All such other relief as the Court may deem just and proper.

                                  COUNT TWO
             TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS
                              (Against enVista, LLC)

        46.     As set forth above, Colomb and Intelligent Audit entered into an agreement.

        47.     enVista had knowledge of the Agreement.

        48.     On March 30, 2021, the undersigned sent a letter to enVista advising it of Colomb’s

obligations under the Agreement which included a redacted version of the Agreement. (A copy of

that letter is attached as Exhibit C).

        49.     In response, enVista requested a more complete version of the Agreement.



                                                  6
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 7 of 30 PageID: 7




       50.       On April 1, 2021, the undersigned provided the information that enVista requested.

       51.       On April 7, 2021, enVista confirmed that Colomb’s start date was April 12, 2012.

       52.       enVista wrongfully and without justification interfered with the Agreement by

employing Colomb.

       53.       Intelligent Audit has suffered damages as a result of enVista’s interference with the

Agreement.

       54.       Intelligent Audit has suffered damages as a result of enVista’s tortious interference

in an amount that is presently unknown and will be determined at trial, but is in excess of $75,000.

       55.       Intelligent Audit, which is a New Jersey corporation with a principal place of

business in New Jersey, has suffered the brunt of the harm caused by enVista’s tortious interference

in New Jersey.

       56.       enVista expressly aimed its tortious conduct at Intelligent Audit which is based in

New Jersey.

       WHEREFORE, Plaintiff Warehouse Solutions Inc. (d/b/a Intelligent Audit) respectfully

requests this Court to enter a judgment against the Defendant enVista, LLC providing the

following relief:

       a)        A permanent injunction barring enVista from interfering with the Agreement;

       b)        Compensatory and consequential damages in an amount to be determined at trial;

       c)        Punitive damages;

       d)        An award of costs that Plaintiff has incurred in this action; and

       e)        All such other relief as the Court may deem just and proper.




                                                   7
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 8 of 30 PageID: 8




Dated April 12, 2021.                         PASHMAN STEIN WALDER HAYDEN, P.C.
                                              Attorneys for Plaintiff
                                              Warehouse Solutions Inc., d/b/a/ Intelligent Audit

                                              By:    /s/ James W. Boyan III
                                                     JAMES W. BOYAN III
                                                     21 MAIN ST – SUITE 200
                                                     COURT PLAZA SOUTH
                                                     HACKENSACK, NJ 07601
                                                     TEL. (201) 488-8200
                                                     FAX. (201) 488-5556
                                                     jboyan@pashmanstein.com


                                DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury as to all issues and claims.

                                              PASHMAN STEIN WALDER HAYDEN, P.C.
                                              Attorneys for Plaintiff
                                              Warehouse Solutions Inc., d/b/a/ Intelligent Audit

                                              By:    /s/ James W. Boyan III
                                                     JAMES W. BOYAN III
                                                     21 MAIN ST – SUITE 200
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                                                 8
 Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 9 of 30 PageID: 9




                                       CERTIFICATION

       Pursuant to Local Civil Rule 11.2, the undersigned hereby certifies that to the best of my

knowledge, the matters raised herein are not the subject of any other pending lawsuit, arbitration,

or administrative proceeding.

                                             PASHMAN STEIN WALDER HAYDEN, P.C.
                                             Attorneys for Plaintiff
                                             Warehouse Solutions Inc., d/b/a/ Intelligent Audit

                                             By:     /s/ James W. Boyan III
                                                     JAMES W. BOYAN III
                                                     21 MAIN ST – SUITE 200
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                                                9
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 10 of 30 PageID: 10




                     EXHIBIT A
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 11 of 30 PageID: 11
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 12 of 30 PageID: 12
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 13 of 30 PageID: 13
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 14 of 30 PageID: 14
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 15 of 30 PageID: 15
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 16 of 30 PageID: 16
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 17 of 30 PageID: 17
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 18 of 30 PageID: 18




                      EXHIBIT B
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 19 of 30 PageID: 19




James W. Boyan III
Partner
Direct: (201) 270-4935
jboyan@pashmanstein.com

March 30, 2021
VIA EMAIL AND OVERNIGHT MAIL
Chris Colomb
27 Cherokee Dr.
Memphis, TN 38111

        Re:      Violation of Your Employment Agreement with Intelligent Audit

Dear Mr. Colomb:

        This firm represents Warehouse Solutions Inc., d/b/a Intelligent Audit (“Intelligent Audit”
or the “Company”). On September 24, 2020, you entered into an agreement with Intelligent Audit
(the “Agreement”) which contains several restrictive covenants, including a 12-month non-
compete (the “Non-Compete Provision”). Enclosed please find a fully-executed copy of the
Agreement. On March 17, 2021, you resigned your employment with Intelligent Audit and advised
that you have accepted employment with enVista LLC and plan to begin working with that
company on April 1, 2021.

        Since enVista is a direct competitor of the Company, your employment with that company
will violate the Non-Compete Provision which prohibits you from engaging in any business that
is competitive with Intelligent Audit for a period of 12 months following the cessation of your
employment.

       If you begin working for evVista, Intelligent Audit will file a lawsuit against you seeking
monetary damages and permanent injunctive relief. The Company will also seek to hold you liable
for any other violations of the Agreement, including any disclosures of Intelligent Audit’s
Proprietary Information (as that term is defined by the Agreement) and/or any violations of the
Agreement’s non-solicitation provisions.

       If you have not done so already, you must immediately return all disks, files, documents,
emails, letters, memoranda, reports, records, data, containing Intelligent Audit’s Proprietary
Information to the Company pursuant to Section 5 (b) of the Agreement. This includes your
Company-issued laptop computer. In addition, please delete any Proprietary Information
belonging to the Company that remains on your electronic devices, including any work-related
emails or text messages and/or any contact information for Intelligent Audit’s customers, vendors,
and suppliers.



 Court Plaza South           Phone: 201.488.8200
 21 Main Street, Suite 200   Fax: 201.488.5556
 Hackensack, NJ 07601        www.pashmanstein.com
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 20 of 30 PageID: 20




       We also demand that you preserve any and all documents that may be relevant to Intelligent
Audit’s potential claims against you, including any communications between you and
representatives of enVista. This includes all emails, text messages, voicemails, and telephone
records.
        Please let us know by close of business on March 31, 2021 whether you intend to abide
by the terms of the Agreement. If you fail to do so, we will assume that you plan to violate the
Agreement and will proceed accordingly.

Very truly yours,


James W. Boyan III

Encl. (Employment, Proprietary Rights, Non-Disclosure, Developments, Non-Competition, and
      Non-Solicitation Agreement)

cc:    Hannah Testani, Chief Executive Officer
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 21 of 30 PageID: 21
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 22 of 30 PageID: 22
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 23 of 30 PageID: 23
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 24 of 30 PageID: 24
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 25 of 30 PageID: 25
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 26 of 30 PageID: 26
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 27 of 30 PageID: 27
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 28 of 30 PageID: 28




                      EXHIBIT C
Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 29 of 30 PageID: 29




James W. Boyan III
Partner
Direct: (201) 270-4935
jboyan@pashmanstein.com

March 30, 2021
VIA EMAIL AND OVERNIGHT MAIL

Amy Mader, Esq., General Counsel
enVista LLC
11555 N. Meridian Street, Suite 300
Carmel, IN 46032

        Re:      Christopher Colomb

Dear Ms. Mader:

        This firm represents Warehouse Solutions Inc., d/b/a Intelligent Audit (“Intelligent
Audit”). We write regarding Christopher Colomb who is a former employee of Intelligent Audit
and a prospective employee of enVista LLC (“enVista”). Mr. Colomb’s last day of work with
Intelligent Audit was Friday, March 26, 2021. It is our understanding that Mr. Colomb will begin
working for enVista on April 1, 2021.

         Please be advised Mr. Colomb is bound by an agreement with Intelligent Audit (the
“Agreement”) which contains several restrictive covenants. In particular, the Agreement contains
a 12-month non-compete provision which prohibits him from engaging in any business (whether
as an employee, consultant, or independent contractor) that is competitive with Intelligent Audit
in the geographic area where Intelligent Audit does business for a 12-month period following the
end of his employment. The Agreement also contains provisions barring Mr. Colomb from
soliciting any of Intelligent Audit’s employees, independent contractors, customers, prospective
customers, or business partners for the same 12-month period. Finally, the Agreement prohibits
him from disclosing any of Intelligent Audit’s Proprietary Information (as that term is defined by
the Agreement) to any third-parties.

        Since enVista is a direct competitor of Intelligent Audit, Mr. Colomb’s prospective
employment with enVista constitutes a clear violation of the Agreement. While we do not know
whether enVista had prior knowledge of Mr. Colomb’s restrictions, this letter shall serve as written
notice of those restrictions.




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Case 2:21-cv-08942-KM-CLW Document 1 Filed 04/12/21 Page 30 of 30 PageID: 30




        Please be advised that Intelligent Audit will file a lawsuit against enVista if it tortiously
interferes with the Agreement and employs Mr. Colomb in violation of his non-compete. In
addition, the Company will seek to hold enVista liable for its role in any other violations of the
Agreement including, but not limited to, any disclosures of Intelligent Audit’s Proprietary
Information and any violations of the Agreement’s non-solicitation provisions. In addition, we
demand that enVista preserve any and all documents that may be relevant to Intelligent Audit’s
potential claims against enVista and Mr. Colomb, including any communications between enVista
and Mr. Colomb.

        Please let me know by close of business on March 31, 2021 whether enVista will continue
with its plan to employ Mr. Colomb. If we do not hear from you by then we will assume that
enVista has not retracted its offer of employment and will proceed accordingly.

Very truly yours,


James W. Boyan III

cc:    Hannah Testani, Chief Executive Officer
       Christopher Colomb
